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                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF PUERTO RICO

 KAYRA M. HERNÁNDEZ
          Plaintiff,
              v.
                                               CIVIL NO. 21-1588 (RAM)
 CASA FEBUS, INC., et al

          Defendants.


             TEMPORARY RESTRAINING ORDER, SEIZURE ORDER,
                       AND ORDER TO SHOW CAUSE

                           I. PRELIMINARY FINDINGS

     Having considered Plaintiff Kayra Hernández’s (“Plaintiff” or

“Ms. Hernández”) Ex Parte Motion for Temporary Restraining Order,

Seizure    Order,    and   Order   to   Show   Cause   (Docket     No.   3);   the

supporting Memorandum of Law (Docket No. 3-1); as well as the

Verified Complaint and its exhibits (Docket Nos. 2 through 2-6),

the Court makes the following preliminary findings:

  1. Ms. Hernández has established prima facie that this Court has

     jurisdiction over the parties and the subject matter of this

     action.

  2. Ms. Hernández established prima facie evidence of ownership

     of copyrights over works titled Nativity Collection (the

     “Copyrighted       Works”),   via    a    Certificate    of   Registration

     issued by the Copyright Office effective on December 10, 2017,

     Registration Number VA 2-109-168. (Docket No. 2-3).
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  3. Plaintiff established that she has exclusive rights over the

     Copyrighted Works and that Defendants Casa Febus, Inc. and

     Casa Febus FL 1, LLC (collectively “Defendants” or “Casa

     Febus”) are not authorized to reproduce, manufacture, import,

     distribute,    sale,   offer   for   sale,    or   display       copies    or

     reproductions of the products incorporating the Copyrighted

     Works. (Docket Nos. 2-1 ¶¶ 10, 24; 2-3).

  4. Ms. Hernández has shown that Defendants are manufacturing,

     importing,    distributing,    selling,    offering        for   sale,    and

     displaying counterfeit copies or illegal reproductions of the

     Copyrighted Works. (Docket Nos. 2-1 ¶¶ 16-19, 26; 2-4).

  5. Ms. Hernández is likely to prevail on her claims of copyright

     infringement.

  6. Ms. Hernández is suffering immediate and irreparable injury

     as a result of the Defendants’ manufacture, importation,

     distribution, display, sale and offer for sale of illegal

     copies or reproductions of the Copyrighted Works. She will

     continue to suffer irreparable harm and injury if a temporary

     restraining and a seizure order is not issued.

  7. It is impracticable to give notice to Defendants prior to the

     issuance of this temporary restraining and seizure order

     because of the likelihood that the Defendants or persons

     acting in concert or association with them will secrete, hide,

     or destroy the counterfeit or infringing products and the
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     documents, records, and evidence of such infringement, if

     given notice.

  8. Therefore, the entry of any order other than a seizure and

     impounding order without notice will be inadequate to protect

     the rights of the Plaintiff.

  9. Ms. Hernández has not publicized its proposed seizure order.

 10. The items subject of the seizure shall be at the locations

    identified in paragraph 10 of the Verified Complaint and

    include each of the Defendants’ places of business, namely:

       a. The Florida Mall
          Space #194 80001 S Orange Blossom Trail
          Orlando, FL 32809
          Tel. (407) 734-5580

       b. KISSIMMEE
          1397 E Osceola Pkwy
          Kissimmee, FL 34744
          Tel. (407) 201-8774

       c. WATERFORD LAKES TOWN CENTER
          657 N Alafaya Trl
          Orlando FL 32828
          Tel. (321) 800-6097

       d. BAYAMÓN
          Decoration Center, Carr. #2 Marginal 15 St.
          Jardines de Caparra
          Bayamon, PR 00960
          Tel. (787) 787-7220

       e. PLAZA LAS AMERICAS
          525 Ave. Franklin Delano Roosevelt
          San Juan, PR 00918
          Tel. (787) 765-0692

       f. MONTEHIEDRA
          The Outlets at Montehiedra #011118
          San Juan, PR 00926
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           Tel. (787) 789-5455

       g. CAROLINA
          Plaza Carolina Local #163
          Carolina, PR 00983
          Tel. (787) 257-2779

       h. CAGUAS
          Las Catalinas Mall
          Caguas, PR 00725
          Tel. (787) 286-0637

       i. HATILLO
          Carr. #2 Km 85.2
          Bo. Carrizales
          Hatillo, PR 00659
          Tel. (787) 820-8801

       j. MAYAGÜEZ
          Carr. #2 Km 15.2
          Bo. Algarrobo
          Mayagüez, PR 00680
          Tel. (787) 986-2989

    (Docket No. 2 ¶ 10).

 11. The potential harm that may be caused to Defendants is not

    sufficient to preclude the Court from issuing this order.

 12. The equities in this matter weigh heavily in Ms. Hernández’

    favor and thus for the issuance of this temporary restraining

    and seizure order.

 13. The public interest, as embodied in the Copyright Act of 1976,

    will be furthered by the issuance of this order prohibiting

    Casa   Febus   from   continuing   to   infringe    upon    Plaintiff’s

    copyrights.
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            II. SHOW CAUSE ORDER FOR PRELIMINARY INJUNCTION

      Therefore, it is hereby ORDERED that Defendants SHALL show

cause in the United States District Court for the District of

Puerto   Rico,      before   the   undersigned       at     the    United    States

Courthouse, located at 150 Carlos Chardón Avenue, San Juan, Puerto

Rico in Courtroom 7, on December 16, 2021 at 1:00 o’clock PM, or

as soon thereafter as the parties and/or their attorneys can be

heard by the Court, why an Order should not be issued granting Ms.

Hernández a Preliminary Injunction pursuant to Fed. R. Civ. P. 65

and   enjoining     Defendants,    their    officers,       directors,      agents,

servants,    employees,      attorneys,    assigns    and    those    persons      in

active concert or participation with them who receive actual notice

of the Order, pending the trial and the determination of this

action, or until further notice of this Court from:

  A. imitating, copying or making unauthorized reproductions of

      the Copyrighted Works;

  B. manufacturing,          producing,         importing,          distributing,

      circulating,      selling,    offering      for      sale,     advertising,

      promoting or displaying any product that is a simulation,

      reproduction, counterfeit, copy, or colorable imitation of

      the Copyrighted Works or any other indicia associated with

      Ms. Hernández;

  C. using    any    simulation,   reproduction,          counterfeit,      copy   or

      colorable imitation of the Copyrighted Works;
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  D. transferring,       consigning,     selling,     shipping      or      otherwise

     moving any products in Defendants’ possession, custody or

     control     bearing      a     Copyrighted     Work        and/or       that     is

     substantially similar to the Copyrighted Works;

  E. engaging in any other activity constituting an infringement

     of   Ms.   Hernández’        copyright   interest     in    the     Copyrighted

     Works;

  F. disposing,         destroying,       altering,        moving,          removing,

     concealing, tampering with or in any manner secreting any

     business records (including computer records) of any kind,

     including        invoices,     correspondence,      books         of    account,

     receipts or other documentation relating or referring in any

     manner      to     the   manufacture,        advertising,              receiving,

     acquisition, importation, distribution, purchase, sale or

     offer for sale of any products bearing a Copyrighted Work

     and/or that substantially similar to the Copyrighted Works;

     or

  G. instructing, assisting, aiding or abetting any other person

     or entity in engaging in or performing any of the activities

     referred to in subparagraphs (a) through (f) above.

     Additionally, the parties are ORDERED to exchange exhibits

and names of witnesses they intend to use at the preliminary

injunction hearing by December 15, 2021.
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         III. TEMPORARY RESTRAINING ORDER AND SEIZURE ORDER

       IT IS FURTHER ORDERED, pursuant to Fed. R. Civ. P. 65, Section

503 of the Copy Right Act, 17 U.S.C. § 503(a), and Section 34 of

the Lanham Act, 15 U.S.C. § 1116, that pending the hearing on, and

the    determination    of,    Plaintiff’s      request   for      a    Preliminary

Injunction, but in no event for a period in excess of fourteen

(14)   days   from    the   effective   date     of   this   Order,         that    the

Defendants,     their       officers,      directors,     agents,           servants,

employees, and attorneys, and those persons in active concert or

participation with them, who receive actual notice of this Order,

are temporarily restrained from:

  A. imitating, copying, or making unauthorized reproductions of

       the Copyrighted Works;

  B. manufacturing,           producing,        importing,         distributing,

       circulating,     selling,    offering      for     sale,        advertising,

       promoting, or displaying any product that is a simulation,

       reproduction, counterfeit, copy, or colorable imitation of

       the Copyrighted Works or any other indicia associated with

       Plaintiff;

  C. using    any    simulation,   reproduction,        counterfeit,         copy     or

       colorable imitation of the Copyrighted Works;

  D. transferring,      consigning,     selling,      shipping         or   otherwise

       moving any products in Defendants’ possession, custody or
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      control     bearing      a     Copyrighted     Work        and/or       that     is

      substantially similar to the Copyrighted Works;

  E. engaging in any other activity constituting an                     infringement

      of   Ms.   Hernández’        copyright   interest     in    the     Copyrighted

      Works;

  F. disposing,          destroying,       altering,        moving,          removing,

      concealing, tampering with or in any manner secreting any

      business records (including computer records) of any kind,

      including        invoices,     correspondence,      books         of    account,

      receipts or other documentation relating or referring in any

      manner      to     the    manufacture,       advertising,              receiving,

      acquisition, importation, distribution, purchase, sale or

      offer for sale of any products bearing a Copyrighted Work

      and/or that substantially similar to the Copyrighted Works;

      or

  G. instructing, assisting, aiding or abetting any other person

      or entity in engaging in or performing any of the activities

      referred to in subparagraphs (a) through (f) above.

      IT IS FURTHER ORDERED that, on or before December 14, 2021,

the U.S. Marshal for the District, or one or more of his deputies,

or, if the United States Marshal or such deputies are unavailable,

other local law enforcement officers, assisted by one or more

attorneys, agents, employees and/or investigators authorized by

Ms.   Hernández,       shall   search,    seize,   and    impound         within     the
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Defendants’ places of business (which includes any vans, trucks or

other vehicles located at Defendants’ places of business or storage

areas or warehouses) or at such other locations or vehicles as the

Defendants and/or their agents may disclose to the U.S. Marshal,

any and all of the following which is in the possession, custody

or control of the Defendants:

  1. items which incorporate any of Copyrighted Works, or which

     are colorable imitations of the Copyrighted Works;

  2. advertising and promotional materials for or relating to any

     of the infringing products identified in item 1 above; and

  3. any    and      all    documents,     including        notes,       records,

     correspondence, ledgers, invoices, receipts, computer records

     or computer databases related to the infringing products

     identified in item 1 above; and, if necessary, to effectuate

     seizure    of   such   computer    records,   to     seize    any   and   all

     computer     equipment   upon     which   records,    or     documents    are

     stored; and any other materials which refer or relate to:

        a) products identified in item 1 above, which incorporate

           any of the Copyrighted Works, or which are colorable

           imitations of the Copyrighted Works;

        b) Defendants’ manufacture, procurement and/or disposition

           of such products; and
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       c) individual or business entities with whom the Defendants

           have dealt with related to the manufacture, procurement,

           or disposition of such products.

     FURTHER ORDERED that any agent or employee of Defendants

approached during this seizure shall immediately identify himself

or herself, giving their current address, and showing picture

identification if they possess the same, and further each and every

location known to him or her, where any of the items 1 to 3 noted

above may be found including any adjacent structures, cars, vans,

or trucks parked within the vicinity of the Defendants’ places of

business or elsewhere; and

     FURTHER ORDERED that personal service of the Summons and the

Verified   Complaint   and   of    this   Temporary     Restraining     Order,

Seizure Order, and Order to Show Cause, together with copies of

the papers in support thereof, may be made by the U.S. Marshal or

other law enforcement or by Plaintiff’s attorneys or their duly

qualified agents or employees on the Defendants or their agents or

employees operating out of the above locations and that such

service shall be deemed sufficient service. Additionally, to the

extent any of the Defendants have multiple locations identified

above, service may be accomplished as to any such Defendant at any

of the listed locations for that Defendant, and need not be made

at every location that a particular Defendant operates; and
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      FURTHER ORDERED that Ms. Hernández’ agents shall promptly

inspect the items seized and, if any items are found to be products

which do not infringe her copyrights, such items are to be returned

to Defendants within fourteen (14) days of the date of the seizure.

                         IV. PROTECTIVE ORDER

      IT IS FURTHER ORDERED, pursuant to Section 503(a)(2) of the

Copyright Act, 17 U.S.C. § 503(a)(2), and until further order of

the    Court,   any      documents,     including         notes,      records,

correspondence, ledgers, invoices, receipts, computer records or

computer databases seized from Defendants pursuant to the previous

section shall not be disclosed to third parties and may only be

used for purposes of this litigation and no other purpose.

                               V. BOND ORDER

      IT IS FURTHER ORDERED that this Temporary Restraining Order

and Seizure Order are conditioned upon Plaintiff’s filing with the

Clerk of the Court within fourteen (14) days of the entry of this

Order an undertaking in the form of a bond or certified check from

Plaintiff, totaling the amount of $25,000.00 for the payment of

such costs and damages which may be incurred or suffered by

Defendants if they have been found to have been wrongfully enjoined

or restrained or any of their property wrongfully seized.

                       VI. ORDER SEALING FILE

      In light of the Ex Parte Motion for Temporary Restraining

Order, Seizure Order, and Order to Show Cause (Docket No. 3); the
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supporting Memorandum of Law (Docket No. 3-1); as well as the

Verified Complaint and its exhibits (Docket Nos. 2 through 2-6),

and pursuant to 15 U.S.C. § 1116(d)(8);

       And it appearing to the Court that immediate and irreparable

injury,   loss,      or   damage   will    occur    to   Plaintiff     should    the

Defendants be given notice and their attorney heard in opposition

to the granting of this Order, or should the Defendants learn of

this action before the seizure ordered concurrently by this Court

is completed;

       And it appearing to the Court that it is likely that the

Defendants may secret the infringing products to be seized pursuant

to the Order of this Court or that such notice will otherwise warn

Defendants of the impending seizure so that they may be able to

frustrate the intent and purpose of the seizure order issued

concurrently by this Court;

       It is ORDERED that the Clerk of this Court shall temporarily

seal   the   Court    file   of    the    instant     case   until    seizure    and

impoundment     of    Defendants’        infringing      products    and    related

business records as ordered concurrently by this Court is completed

and, further, that the Defendants are given the opportunity of a

hearing on the Preliminary Injunction as noted above.

                               VII. CONCLUSION

       The Court has granted the foregoing Temporary Restraining

Order and Seizure Order without prior written or oral notice to
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Defendants for the reasons set forth above. There is a substantial

likelihood        that    the    Defendants’          continued      infringement        of

Plaintiff’s       copyrights       and    trade   dress       has   caused,     and   will

continue     to    cause,       the    Plaintiff       to     suffer    immediate     and

irreparable injury and harm. Such injury and harm include the loss

of income, interference with Ms. Hernández’ ability to market and

license the Copyrighted Works, confusion in the marketplace as to

the duly authorized source of the Copyrighted Works, and impairment

of    Plaintiff’s        further      exploitation       of    her     rights    in   her

Copyrighted Works and her trade dress.

       This Temporary Restraining Order and Seizure Order has been

granted ex parte because it is the sole method of preserving the

current state of affairs and is the sole means whereby the Court

can provide effective final relief. If notice were required, such

notice might well render fruitless further prosecution of this

action. Specifically, the infringing products may disappear, be

secreted, or surreptitiously transferred to some other entity for

subsequent sale, or information relating to the source and amounts

of such products might disappear. In sum, giving the Defendants

notice of the application for an injunction could result in an

inability to provide any relief at all. This is contrary to the

normal and intended role of “Notice” within the meaning of Fed. R.

Civ. P. 65(b).
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     IT IS SO ORDERED.
     In San Juan, Puerto Rico, this 8th day of December 2021.

                                       S/ RAÚL M. ARIAS-MARXUACH
                                       United States District Judge
